Case 4:08-cr-00016-RBS-DEM Document 143 Filed 01/09/09 Page 1 of 15 PageID# 1026
Case 4:08-cr-00016-RBS-DEM Document 143 Filed 01/09/09 Page 2 of 15 PageID# 1027
Case 4:08-cr-00016-RBS-DEM Document 143 Filed 01/09/09 Page 3 of 15 PageID# 1028
Case 4:08-cr-00016-RBS-DEM Document 143 Filed 01/09/09 Page 4 of 15 PageID# 1029
Case 4:08-cr-00016-RBS-DEM Document 143 Filed 01/09/09 Page 5 of 15 PageID# 1030
Case 4:08-cr-00016-RBS-DEM Document 143 Filed 01/09/09 Page 6 of 15 PageID# 1031
Case 4:08-cr-00016-RBS-DEM Document 143 Filed 01/09/09 Page 7 of 15 PageID# 1032
Case 4:08-cr-00016-RBS-DEM Document 143 Filed 01/09/09 Page 8 of 15 PageID# 1033
Case 4:08-cr-00016-RBS-DEM Document 143 Filed 01/09/09 Page 9 of 15 PageID# 1034
Case 4:08-cr-00016-RBS-DEM Document 143 Filed 01/09/09 Page 10 of 15 PageID# 1035
Case 4:08-cr-00016-RBS-DEM Document 143 Filed 01/09/09 Page 11 of 15 PageID# 1036
Case 4:08-cr-00016-RBS-DEM Document 143 Filed 01/09/09 Page 12 of 15 PageID# 1037
Case 4:08-cr-00016-RBS-DEM Document 143 Filed 01/09/09 Page 13 of 15 PageID# 1038
Case 4:08-cr-00016-RBS-DEM Document 143 Filed 01/09/09 Page 14 of 15 PageID# 1039
Case 4:08-cr-00016-RBS-DEM Document 143 Filed 01/09/09 Page 15 of 15 PageID# 1040
